Case 1:23-mi-99999-UNA Document 1956-3 Filed 06/16/23 Page 1 of 4




        Exhibit C
       Notice of Filing Petition for Removal -
           Gwinnett County State Court
       Case 1:23-mi-99999-UNA Document 1956-3 Filed 06/16/23 Page 2 of 4



                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

OLIVIA C. WIGGINS,

               Plaintiff,
v.
                                                          CIVIL ACTION FILE
SALSON LOGISTICS, INC.; CHRIS                             NO. 23-C-03005-S3
MUSUSU; and PRIME PROPERTY &
CASUALTY INSURANCE, INC.,

               Defendants.


                     NOTICE OF FILING PETITION FOR REMOVAL

TO:    CLERK, STATE COURT OF GWINNETT COUNTY
       P.O. Box 880
       Lawrenceville, GA 30046

       PLEASE TAKE NOTICE that defendants Salson Logistics, Inc., Chris Mususu, and

Prime Property & Casualty Insurance, Inc., by and through undersigned counsel, have on this

date filed its Petition for Removal to the United States District Court for the Northern District of

Georgia, Atlanta Division, a copy of which is attached hereto as Exhibit “A.”

       Respectfully submitted this 16th day of June, 2023.

                                                 FREEMAN MATHIS & GARY, LLP

                                                  /s/ Wayne S. Melnick
                                                  WAYNE S. MELNICK
                                                  Georgia Bar No. 501267

                                                  /s/ David M. Harding
                                                  DAVID M. HARDING
                                                  Georgia Bar No. 708591

                                                  Attorneys for Defendant Salson Logistics, Inc.
                                                  and Chris Mususu
100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
(770) 818-0000 (telephone)
wmelnick@fmglaw.com
david.harding@fmglaw.com
      Case 1:23-mi-99999-UNA Document 1956-3 Filed 06/16/23 Page 3 of 4




                                      WEINBERG WHEELER HUDGINS GUNN
                                      & DIAL, LLC

                                      /s/ Stephen J. Rapp
                                      STEPHEN J. RAPP
                                      Georgia Bar No. 103806

                                      Attorneys for Prime Property & Casualty
                                      Insurance, Inc.
3344 Peachtree Road NE, Suite 2400
Atlanta, GA 30326
(404) 832-9514 – phone
srapp@wwhgd.com




                                     -2-
       Case 1:23-mi-99999-UNA Document 1956-3 Filed 06/16/23 Page 4 of 4



                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing NOTICE OF

FILING PETITION FOR REMOVAL to the Clerk of Court using the Court’s e-filing system

which will automatically send electronic mail notification of such filing to the following:

                                         Trevor E. Brice
                                      WLG ATLANTA, LLC
                               600 Peachtree Street NE, Suite 4010
                                       Atlanta, GA 30308
                                 trevor.brice@witheritelaw.com

                                      Stephen J. Rapp
                          WEINBERG WHEELER HUDGINS GUNN & DIAL
                             3344 Peachtree Road NE, Suite 2400
                                     Atlanta, GA 30326
                                    srapp@wwhgd.com

       This 16th day of June, 2023.

                                                 /s/ Wayne S. Melnick
                                                 WAYNE S. MELNICK
                                                 Georgia Bar No. 501267
                                                 wmelnick@fmglaw.com

                                                 Attorney for Defendant Salson Logistics, Inc.
                                                 and Chris Mususu

FREEMAN MATHIS & GARY, LLP
100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
(770) 818-0000 – phone
